                                                                 HON. WHITMAN L. HOLT
 1    Alan D. Smith (WSBA 24964)
      Bradley A. Cosman (pro hac vice)
 2    PERKINS COIE LLP
      1201 Third Avenue
 3    Seattle, WA 98101
      Telephone: (206) 359-8000
 4    Facsimile: (206) 359-9000
      E-mail: ADSmith@perkinscoie.com
 5    BCosman@perkinscoie.com
 6    Attorneys for Creditor Tyson Fresh Meats, Inc.
 7

 8
                            UNITED STATES BANKRUPTCY COURT
 9                          EASTERN DISTRICT OF WASHINGTON
10

11    In re
                                                 Chapter 11
      EASTERDAY RANCHES, INC.,
12
                          Debtor.                Case No. 21-00141-11 WLH11
13
                                                 STIPULATED PROTECTIVE
14
                                                 ORDER
15

16
     1.       PURPOSES AND LIMITATIONS

17
              Tyson Fresh Meats, Inc. (“Tyson”) has requested certain information from

18
     Cody Easterday, Debby Easterday, and Karen Easterday (collectively, the

19
     “Easterday Family”) in connection with this bankruptcy case. The information

20
     requested by Tyson likely to involve production of confidential, proprietary, or

21
     private information for which special protection may be warranted. Accordingly, the

22
     parties hereby stipulate to and petition the court to enter the following Stipulated

23
     Protective Order (“Order”). It does not confer blanket protection on all disclosures

24
     or responses to discovery, the protection it affords from public disclosure and use

25
     extends only to the limited information or items that are entitled to confidential

26


     STIPULATED PROTECTIVE ORDER - 1
     151531810.1



     21-00141-WLH11      Doc 946    Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 1 of 14
 1 treatment under the applicable legal principles, and it does not presumptively entitle

 2 parties to file confidential information under seal.

 3 2.         “CONFIDENTIAL” MATERIAL
 4            As used in this Order, “Confidential Material” means any document, or any
 5 portion thereof, which contains confidential or proprietary business, commercial,

 6 research, personal, product or financial content belonging to the producing party,

 7 and which is designated as “CONFIDENTIAL” for purposes of this case.

 8 Confidential Material may fall within one or more of the following categories: (a)
 9 information prohibited from disclosure by statute or contractual agreement; (b)

10 information that reveals trade secrets; (c) research, technical, commercial or

11 financial information that the party has maintained as confidential; (d) medical

12 information concerning any individual; (e) personal identity information; or (f)

13 income tax returns (including attached schedules and forms), W-2 forms and 1099

14 forms. The parties will make reasonable efforts to ensure that information or

15 documents that are available to the public at the time the production are not

16 designated as Confidential Material.

17 3.         SCOPE
18            The protections conferred by this Order cover not only Confidential Material
19 (as defined above), but also (1) any information copied or extracted from

20 Confidential Information; (2) all copies, excerpts, summaries, or compilations of

21 Confidential Information; and (3) any testimony, conversations, or presentations by

22 parties or their counsel that might reveal Confidential Material.

23            However, the protections conferred by this Order do not cover information
24 that is in the public domain or becomes part of the public domain through trial or

25 otherwise.

26 4.         ACCESS TO AND USE OF CONFIDENTIAL MATERIAL


     STIPULATED PROTECTIVE ORDER - 2
     151531810.1



     21-00141-WLH11       Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 2 of 14
 1            4.1   Basic Principles. For purposes of this Order, a “receiving party” is a
 2 party to this Order that receives information from another party to this Order. A

 3 receiving party may use Confidential Material that is disclosed or produced by

 4 another party or by a non-party in connection with this case only for prosecuting,

 5 defending, or attempting to settle this case. Confidential Material may be disclosed

 6 only to the categories of persons and under the conditions described in this Order.

 7 Confidential Material must be stored and maintained by a receiving party at a

 8 location and in a secure manner that ensures that access is limited to the persons
 9 authorized under this Order.

10            4.2   Disclosure of “CONFIDENTIAL” Material or Items. Unless
11 otherwise ordered by the court or permitted in writing by the designating party, a

12 receiving party may disclose any Confidential material only to:

13                  (a)   the receiving party’s counsel of record in this action, as well as
14 employees of counsel to whom it is reasonably necessary to disclose the information

15 for this case;

16                  (b)   the officers, directors, and employees (including in house
17 counsel) of the receiving party to whom disclosure is reasonably necessary for this

18 case;

19                  (c)   experts and consultants to whom disclosure is reasonably
20 necessary for this case and who have signed the “Acknowledgment and Agreement

21 to Be Bound” (Exhibit A);

22                  (d)   the court, court personnel, and court reporters and their staff;
23                  (e)   copy or imaging services retained by counsel to assist in the
24 duplication of confidential Material, provided that counsel for the party retaining the

25 copy or imaging service instructs the service not to disclose any Confidential

26


     STIPULATED PROTECTIVE ORDER - 3
     151531810.1



     21-00141-WLH11       Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54     Pg 3 of 14
 1 Material to third parties and to immediately return all originals and copies of any

 2 Confidential Material;

 3                  (f)   during their depositions, witnesses in the action to whom
 4 disclosure is reasonably necessary and who have signed the “Acknowledgment and

 5 Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the designating

 6 party or ordered by the court. Pages of transcribed deposition testimony or exhibits

 7 to depositions that reveal Confidential Material must be separately bound by the

 8 court reporter and may not be disclosed to anyone except as permitted under this
 9 Order;

10                  (g)   the author or recipient of a document containing the information
11 or a custodian or other person who otherwise possessed or knew the information.

12            4.3   Filing Confidential Material. Before filing Confidential Material or
13 discussing or referencing such material in court filings, the filing party shall confer

14 with the designating party, to determine whether the designating party will remove

15 the CONFIDENTIAL designation, whether the document can be redacted, or

16 whether a motion to seal or stipulation and proposed order is warranted. During the

17 meet and confer process, the designating party must identify the basis for sealing the

18 specific Confidential Material at issue, and the filing party shall include this basis in

19 its motion to seal, along with any objection to sealing the information at issue.

20 5.         DESIGNATING CONFIDENTIAL MATERIAL
21            5.1   Manner and Timing of Designations. Except as otherwise provided
22 in this Order, or as otherwise stipulated or ordered, disclosure or discovery material

23 that qualifies for protection under this Order must be clearly so designated before or

24 when the material is disclosed or produced.

25                   a)   Information in documentary form: (e.g., paper or electronic
26 documents and deposition exhibits, but excluding transcripts of depositions or other


     STIPULATED PROTECTIVE ORDER - 4
     151531810.1



     21-00141-WLH11       Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 4 of 14
 1 pretrial or trial proceedings), the designating party must affix the word

 2 “CONFIDENTIAL” to each page that contains Confidential Material. If only a

 3 portion or portions of the material on a page qualifies for protection, the producing

 4 party also must clearly identify the protected portion(s) (e.g., by making appropriate

 5 markings in the margins).

 6                   b)    Testimony given in deposition or in other pretrial proceedings:
 7 the parties and any participating non-parties must identify on the record, during the

 8 deposition       or    other   pretrial   proceeding,   all   testimony   designated   as
 9 CONFIDENTIAL, without prejudice to their right to so designate other testimony

10 after reviewing the transcript. Any party or non-party may, within fifteen days after

11 receiving the transcript of the deposition or other pretrial proceeding, designate

12 portions of the transcript, or exhibits thereto, as CONFIDENTIAL. If a party or non-

13 party desires to protect Confidential Material at trial, the issue should be addressed

14 during the pre-trial conference.

15                   c)    Other tangible items: the producing party must affix in a
16 prominent place on the exterior of the container or containers in which the

17 information or item is stored the word “CONFIDENTIAL.” If only a portion or

18 portions of the information or item warrant protection, the producing party, to the

19 extent practicable, shall identify the protected portion(s).

20            5.2   Inadvertent Failures to Designate. An inadvertent failure to designate
21 a document as CONFIDENTIAL does not, standing alone, waive the right to so

22 designate the document. If a party designates a document as CONFIDENTIAL after

23 it was initially produced, the receiving party, on notification of the designation, must

24 make a reasonable effort to ensure that the document is treated in accordance with

25 the provisions of this Order. No party shall be found to have violated this Order for

26 failing to maintain the confidentiality of material during a time when that material


     STIPULATED PROTECTIVE ORDER - 5
     151531810.1



     21-00141-WLH11        Doc 946    Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 5 of 14
 1 has not been designated Confidential Material, even where the failure to so designate

 2 was inadvertent and where the material is subsequently designated Confidential

 3 Material.

 4 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
 5            6.1   Timing of Challenges. Any party or non-party may challenge a
 6 CONFIDENTIAL designation at any time. Unless a prompt challenge to a

 7 designating party’s designation of CONFIDENTIAL is necessary to avoid

 8 foreseeable, substantial unfairness, unnecessary economic burdens, or a significant
 9 disruption or delay of the litigation, a party does not waive its right to challenge a

10 designation of CONFIDENTIAL by electing not to mount a challenge promptly after

11 the original designation is disclosed.

12            6.2   Meet and Confer. The parties must make every attempt to resolve any
13 dispute regarding CONFIDENTIAL designations without court involvement. Any

14 motion regarding confidential designations or for a protective order must include a

15 certification, in the motion or in a declaration or affidavit, that the movant has

16 engaged in a good faith meet and confer conference with other affected parties in an

17 effort to resolve the dispute without court action. The certification must list the date,

18 manner, and participants to the conference. A good faith effort to confer requires a

19 face-to-face meeting or a telephone conference.

20            6.3   Judicial Intervention. If the parties cannot resolve a challenge without
21 court intervention, the designating party may file and serve a motion to retain

22 confidentiality of the material designated as CONFIDENTIAL. The burden of

23 persuasion in any such motion shall be on the designating party. Frivolous

24 challenges, and those made for an improper purpose (e.g., to harass or impose

25 unnecessary expenses and burdens on other parties) may expose the challenging

26


     STIPULATED PROTECTIVE ORDER - 6
     151531810.1



     21-00141-WLH11       Doc 946    Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 6 of 14
 1 party to sanctions. All parties shall continue to maintain the material in question as

 2 Confidential Material subject to this Order until the court rules on the challenge.

 3 7.         CONFIDENTIAL           MATERIAL          SUBPOENAED         OR       ORDERED
 4 PRODUCED IN OTHER LITIGATION

 5            If a party is served with a subpoena or a court order issued in other litigation
 6 that compels disclosure of any information or items designated in this action as

 7 “CONFIDENTIAL,” that party must:

 8                   a)    promptly notify the designating party in writing and include a
 9 copy of the subpoena or court order;

10                   b)    promptly notify in writing the party who caused the subpoena or
11 order to issue in the other litigation that some or all of the material covered by the

12 subpoena or order is subject to this Order. Such notification shall include a copy of

13 this Order; and

14                   c)    cooperate with respect to all reasonable procedures sought to be
15 pursued by the designating party whose Confidential Material may be affected.

16 8.         UNAUTHORIZED DISCLOSURE OF CONFIDENTIAL MATERIAL
17            If a receiving party learns that, by inadvertence or otherwise, it has disclosed
18 Confidential Material to any person or in any circumstance not authorized under this

19 Order, the receiving party must immediately (a) notify in writing the designating

20 party of the unauthorized disclosures, (b) use its best efforts to retrieve all

21 unauthorized copies of the Confidential Material, (c) inform the person or persons

22 to whom unauthorized disclosures were made of all the terms of this Order, and (d)

23 request that such person or persons execute the “Acknowledgment and Agreement

24 to Be Bound” that is attached hereto as Exhibit A.

25 9.         LIMITATIONS ON WAIVER OF PRIVILEGE
26


     STIPULATED PROTECTIVE ORDER - 7
     151531810.1



     21-00141-WLH11        Doc 946    Filed 07/28/21   Entered 07/28/21 13:33:54    Pg 7 of 14
 1            9.1   Clawback of Inadvertent Disclosure. This Order is entered, inter alia,
 2 pursuant to Federal Rule of Evidence 502(d). If a party or non-party that produces

 3 or otherwise discloses information in connection with this case (the “Producing

 4 Party”) thereafter claims that such information is protected by any privilege or

 5 attorney work product protection (“Disclosed Protected Information”), the

 6 disclosure of the Disclosed Protected Information shall not constitute or be deemed

 7 a waiver or forfeiture of any claim of privilege or work product protection that the

 8 Producing Party would otherwise be entitled to assert with respect to the Disclosed
 9 Protected Information and its subject matter in this proceeding or in any other federal

10 or state proceeding. By entering this Protective Order, the Court intends to provide

11 the maximum protection allowed by Rule 502(d).

12                   a)   Assertion of a Clawback. Any Producing Party may request in
13 writing, the return of any Disclosed Protected Information by identifying it and

14 stating the basis for withholding such material or information from production.

15                   b)   Clawbacks Before Deposition. To the extent a party believes a
16 clawback made prior to a scheduled deposition impacts that deposition, the parties

17 will meet and confer and a party may seek guidance from the court if the meet and

18 confer does not reach a successful resolution.

19                   c)   Clawback Process. Federal Rule of Civil Procedure 26(b)(5)(B)
20 shall govern the clawback of Disclosed Protected Information.

21                          i.   If a Producing Party requests the return of such Disclosed
22 Protected Information then in the custody of one or more parties, the receiving

23 parties shall—unless it contests the claim of attorney-client privilege or work

24 product protection in accordance with this Order – within ten (10) business days of

25 receipt of written notice (i) destroy or return to the Producing Party the Disclosed

26 Protected Information and all copies thereof, and (ii) provide a certification of


     STIPULATED PROTECTIVE ORDER - 8
     151531810.1



     21-00141-WLH11       Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 8 of 14
 1 counsel that all of the Disclosed Protected Information has been returned or

 2 destroyed.

 3                        ii.   Challenging a Clawback. If a party seeks to challenge a
 4 Producing Party’s request to return such Disclosed Protected Information, that party

 5 shall notify the Producing Party or non-party that it wishes to challenge the claim of

 6 privilege or work product protection and has sequestered the material until the issue

 7 can be resolved. The parties agree to meet and confer regarding the claim of

 8 privilege. If, at the conclusion of the meet and confer process, the parties are still not
 9 in agreement, they may bring the issue to the court. A party challenging a clawback

10 request under this paragraph may rely upon Rule 502(b) and use the clawed back

11 document and its contents for the purpose of filing or responding to a motion with

12 the court to determine whether or not: (i) the document is privileged or work product;

13 and/or (ii) any privileges have been waived pursuant to Rule 502(b), only in

14 accordance with the provisions of Fed. R. Civ. P. 26(b)(5)(B). For any such filing,

15 the Disclosed Protected Information at issue shall be filed under seal.

16                       iii.   Presumptive Loss of Clawback After Use. Nothing in
17 this Section 9 precludes a party who challenges the clawback of Disclosed Protected

18 Information from arguing under Federal Rule for Evidence 502(b) that the

19 circumstances under which the information was disclosed or used amounted to an

20 intentional waiver of privilege or that the party who seeks to claw back the

21 information failed to take reasonable steps to prevent disclosure or to rectify the

22 error. Without limiting the foregoing, a party seeking to claw back Disclosed

23 Protected Information under this Section shall be presumed to have lost the right to

24 claw back under this Section if (1) the Disclosed Protected Information, or document

25 containing such information, is used by any party in a deposition, hearing, or court

26 filing in this action (with the exception of a motion to determine the existence of any


     STIPULATED PROTECTIVE ORDER - 9
     151531810.1



     21-00141-WLH11     Doc 946    Filed 07/28/21   Entered 07/28/21 13:33:54     Pg 9 of 14
 1 privilege), or specifically referred to in the body of an expert report served in this

 2 action, (2) the party seeking to claw back the information was represented at the

 3 deposition or hearing, was a party to the motion or other proceeding in connection

 4 with which the court filing was made, or was a subject of the opinions expressed in

 5 the expert report, and (3) such party fails to claw back the information pursuant to

 6 this Order within 21 calendar days of its use or, in the case of a document first used

 7 by a Party on an exhibit list, within the time prescribed by the trial court for

 8 objections to such pretrial filings, if less than 21 days.
 9                       iv.   The parties may stipulate to extend the time periods set
10 forth in sub-paragraphs (a) and (c).

11                        v.   Disclosed Protected Information that is sought to be
12 reclaimed by the parties to this case pursuant to this Order shall not be used as

13 grounds by any third party to argue that any waiver of privilege or protection has

14 occurred by virtue of any production in this case.

15                       vi.   The Producing Party retains the burden of establishing the
16 privileged or protected nature of the Disclosed Protected Information. Nothing in

17 this paragraph shall limit the right of any party to petition the Court for an in camera

18 review of the Disclosed Protected Information.

19            9.2 Deletion from Electronic Database. Where a party agrees to or is
20 ordered to destroy a clawed back document, the party must instruct their e-discovery

21 vendor to delete the document entirely from their e-discovery database and delete

22 other copies of the clawed back document. To the extent that it is not technologically

23 feasible for a receiving party to destroy a clawed back document (for example, if the

24 clawed back document is part of a production provided on read-only production

25 media such that the clawed back document cannot be destroyed without destroying

26


     STIPULATED PROTECTIVE ORDER - 10
     151531810.1



     21-00141-WLH11     Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54    Pg 10 of 14
 1 the entire production media), the Parties will meet and confer as to an acceptable

 2 alternative approach.

 3            9.3    Receiving Party’s Obligation. Without waiving the ability to
 4 challenge a clawback under this Order, a party who discovers that it may have

 5 received an inadvertently disclosed or produced protected document must promptly

 6 notify the disclosing or producing party. A party who is notified or discovers that it

 7 may have received a protected document must comply with Fed. R. Civ. P.

 8 26(b)(5)(B).
 9 10.        NON-TERMINATION AND RETURN OF DOCUMENTS
10            Within 60 days after the termination of this case, including all appeals, each
11 receiving party must return all Confidential Material to the producing party,

12 including all copies, extracts and summaries thereof. Alternatively, the parties may

13 agree upon appropriate methods of destruction.

14            Notwithstanding this provision, counsel are entitled to retain one archival
15 copy of all documents filed with the court, trial, deposition, and hearing transcripts,

16 correspondence, deposition and trial exhibits, expert reports, attorney work product,

17 and consultant and expert work product, even if such materials contain Confidential

18 Material.

19            The confidentiality obligations imposed by this Order shall remain in effect
20 until a designating party agrees otherwise in writing or a court orders otherwise.

21 / / /

22 / / /

23 / / /

24

25

26                 IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.


     STIPULATED PROTECTIVE ORDER - 11
     151531810.1



     21-00141-WLH11       Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 11 of 14
 1

 2    DATED: July 28, 2021          /s/ Alan D. Smith________________________
                                    Alan D. Smith (WSBA 24964)
 3                                  Bradley A. Cosman (Admitted pro hac vice)
                                    PERKINS COIE LLP
 4                                  1201 Third Avenue
                                    Seattle, WA 98101
 5                                  Telephone: (206) 359-8000
                                    Facsimile: (206) 359-9000
 6                                  E-mail: ADSmith@perkinscoie.com
                                    BCosman@perkinscoie.com
 7
                                    Attorneys for Creditor Tyson Fresh Meats, Inc.
 8
                                     SUSSMAN SHANK LLP
 9

10                                   /s/ Jeffrey C. Misley
                                    Jeffrey C. Misley, WSBA 33397
11                                  Laurie R. Hager, WSBA 38643
                                    Thomas W. Stilley, WSBA 21718
12                                  1000 SW Broadway, Suite 1400
                                    Portland, Oregon 97205
13                                  lhager@sussmanshank.com
                                    jmisley@sussmanshank.com
14                                  tstilley@sussmanshank.com
15                                  Attorneys for Defendants Cody and Debby
                                           Easterday
16

17                                   TONKON TORP LLP
18
                                     /s/ Timothy J. Conway
19                                   Timothy J. Conway, WSBA 52204
                                     888 SW Fifth Avenue, Suite 1600
20                                   Portland, Oregon 97204
                                     tim.conway@tonkon.com
21
                                     Attorneys for Defendant Karen Easterday
22

23 PURSUANT TO STIPULATION, IT IS SO ORDERED

24            IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the
25 production of any documents in this proceeding shall not, for the purposes of this

26 proceeding or any other federal or state proceeding, constitute a waiver by the


     STIPULATED PROTECTIVE ORDER - 12
     151531810.1



     21-00141-WLH11     Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 12 of 14
 1 producing party of any privilege applicable to those documents, including the

 2 attorney-client privilege, attorney work-product protection, or any other privilege or

 3 protection recognized by law.

 4 DATED:

 5

 6
                                                  HONORABLE WHITMAN L. HOLT
 7                                                United States Bankruptcy Court Judge
 8
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26


     STIPULATED PROTECTIVE ORDER - 13
     151531810.1



     21-00141-WLH11   Doc 946    Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 13 of 14
 1                                         EXHIBIT A
 2                 ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
 3            I, ____________________________________ [print or type full name], of
 4 ____________________________________ [print or type full address], declare

 5 under penalty of perjury that I have read in its entirety and understand the Stipulated

 6 Protective Order that was issued by the United States Bankruptcy Court for the

 7 Eastern District of Washington on [date] in the case of In re: Easterday Ranches,

 8 Inc., Case No. 21-00141 WLH11. I agree to comply with and to be bound by all the
 9 terms of this Stipulated Protective Order and I understand and acknowledge that

10 failure to so comply could expose me to sanctions and punishment in the nature of

11 contempt. I solemnly promise that I will not disclose in any manner any information

12 or item that is subject to this Stipulated Protective Order to any person or entity

13 except in strict compliance with the provisions of this Order.

14            I further agree to submit to the jurisdiction of the United States Bankruptcy
15 Court for the Eastern District of Washington for the purpose of enforcing the terms

16 of this Stipulated Protective Order, even if such enforcement proceedings occur after

17 termination of this case.

18 Date:

19 City and State where sworn and signed:

20 Printed name:

21 Signature:

22

23

24

25

26


     STIPULATED PROTECTIVE ORDER - 14
     151531810.1



     21-00141-WLH11       Doc 946   Filed 07/28/21   Entered 07/28/21 13:33:54   Pg 14 of 14
